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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

MARIA RENDON VALE                                 §
                                                  §
Plaintiff,                                        §
                                                  §
v.                                                §   CIVIL ACTION NO. 7:15-cv-00072
                                                  §        JURY DEMANDED
COMPANION PROPERTY                                §
AND CASUALTY INSURANCE                            §
COMPANY                                           §
                                                  §
Defendant                                         §

               AGREED STIPULATION OF DISMISSAL FOR PLAINTIFF

   Plaintiff and Defendant Companion Property and Casualty Insurance Company filed this
stipulation of dismissal under Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

    1. Plaintiff is Maria Rendon Vale, Defendant is Companion Property and Casualty
  Insurance Company.

    2. On December 30, 2014, Plaintiff sued Defendant in the 93rd Judicial District Court,
  Hidalgo County, Texas, Cause No. C-8909-14-B. On February 16, 2015 Companion
  Property and Casualty Insurance Company filed its Original Answer. On February 16, 2015,
  Companion Property and Casualty Insurance Company filed its Notice of Removal.

     3. On or about May 5, 2015, the parties settled this case. As a result of this settlement, all
  issues in the above-styled and numbered litigation have been fully and finally settled.
  Plaintiff now moves to dismiss the suit.

     4. Defendant agrees to the dismissal.

    5. This case is not a class action under Federal Rule of Civil Procedure 23, a derivative
  action under Rule 23.1, or an action related to an unincorporated association under Rule 23.2.

     6. A receiver has not been appointed in this case.

     7. This case is not governed by any federal statute that requires a court order for dismissal
  of the case.

     8. Plaintiff has not previously dismissed any federal- or state-court suit based on or
  including the same claims as those presented in this case.

     9. This dismissal is with prejudice.


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                                     Respectfully submitted


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                                               COUNSEL FOR PLAINTIFF,
                                               MARIA RENDON VALE
                                               *Signed with permission




                               CERTIFICATE OF SERVICE

       I certify that on June 16, 2015, a copy of the parties’ Agreed Stipulation of Dismissal
 was electronically filed on the CM/ECF system, and will be served on the following attorney
 in charge for Plaintiff, Maria Rendon Vale, via electronic filing or regular mail:

Aloysius Peter Thaddeus, Jr.
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VIA E-FILING


                                                  /s/Thomas F. Nye
                                               Thomas F. Nye




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